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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 IN RE:

 APPLICATION OF THE COMMITTEE ON
 THE JUDICIARY, U.S. HOUSE OF                            No. 19-gj-48 (BAH)
 REPRESENTATIVES, FOR AN ORDER
 AUTHORIZING THE RELEASE OF
 CERTAIN GRAND JURY MATERIALS


      NOTICE OF WITHDRAWAL OF APPEARANCE OF JOSHUA A. GELTZER

       I, Joshua A. Geltzer, hereby withdraw my appearance on behalf of Applicant in the

above-captioned case. Applicant will continue to be represented by the other attorneys who have

entered appearances in this case.


                                           Respectfully submitted,

                                           /s/ Joshua A. Geltzer
                                           Joshua A. Geltzer (D.C. Bar No. 1018768)
                                           INSTITUTE FOR CONSTITUTIONAL
                                           ADVOCACY AND PROTECTION
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January 26, 2021
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2021, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.

                                                       /s/ Joshua A. Geltzer
                                                       Joshua A. Geltzer




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